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 5
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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      CALVIN KWON,                               Case No.:
11
                   Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                               RELIEF AND DAMAGES FOR
            vs.                                  VIOLATION OF:
13
                                                 1. AMERICANS WITH DISABILITIES
14    FU FAMILY CORPORATION D/B/A                ACT, 42 U.S.C. §12131 et seq.;
15    FU’S PALACE; GM WOOSTER                    2. CALIFORNIA’S UNRUH CIVIL
      INVESTMENT LLC; and DOES 1 through         RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                               52 et seq.;
      10,
17                 Defendants.                   3. CALIFORNIA’S DISABLED
                                                 PERSONS ACT, CAL CIV. CODE §54 et
18                                               seq.
19                                               4. CALIFORNIA’S UNFAIR
                                                 COMPETITION ACT, CAL BUS & PROF
20                                               CODE § 17200, et seq.
21                                               5. NEGLIGENCE
22
23
24
25          Plaintiff CALVIN KWON (“Plaintiff”) complains of Defendants FU FAMILY
26    CORPORATION D/B/A FU’S PALACE; GM WOOSTER INVESTMENT LLC; and
27    DOES 1 through 10 (“Defendants”) and alleges as follows:
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                                    COMPLAINT FOR DAMAGES - 1
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 1                                  JURISDICTION AND VENUE
 2          1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, in Los Angeles, Los
10    Angeles County, California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12          4.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
13    from degenerative disk disease and is substantially limited in his ability to walk. Plaintiff
14    requires the use of a wheelchair at all times when traveling in public.
15          5.     Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for FU’S PALACE
17    (“Business”) located at or about 8751 W. Pico Blvd., Los Angeles, California.
18          6.     The true names and capacities, whether individual, corporate, associate or
19    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21    Court to amend this Complaint when the true names and capacities have been
22    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23    fictitiously named Defendants are responsible in some manner, and therefore, liable to
24    Plaintiff for the acts herein alleged.
25          7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                     COMPLAINT FOR DAMAGES - 2
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 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                  FACTUAL ALLEGATIONS
 8          9.     On or about September 3, 2019, Plaintiff went to the Business. On or about
 9    October 14, 2019, Plaintiff returned to the Business. The Business is a restaurant
10    business establishment, which is open to the public, is a place of public accommodation
11    and affects commerce through its operation.
12          10.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business. To the extent
15    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16    limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to post required signage such as “Van Access” or “Minimum
20                        Fine $250.”
21                 b.     Defendant failed to maintain the parking space designated for persons
22                        with disabilities to comply with the federal and state standards.
23                        Defendants failed to paint the ground as required.
24                 c.     Defendants failed to maintain the parking space designated for
25                        persons with disabilities to comply with the federal and state
26                        standards. Defendants failed to mark the space with the International
27                        Symbol of Accessibility.
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                                    COMPLAINT FOR DAMAGES - 3
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 1          11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2    Business. Plaintiff lives about 6 miles away from the Business. Plaintiff wishes to
 3    patronize the Business again as it is conveniently located for Plaintiff. However, Plaintiff
 4    is deterred from visiting the Business because his knowledge of these violations prevents
 5    him from returning until the barriers are removed.
 6          12.    Based on the violations, Plaintiff alleges, on information and belief, that
 7    there are additional barriers to accessibility at the Business after further site inspection.
 8    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 9    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
10          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
11    knew that particular barriers render the Business inaccessible, violate state and federal
12    law, and interfere with access for the physically disabled.
13          14.    At all relevant times, Defendants had and still have control and dominion
14    over the conditions at this location and had and still have the financial resources to
15    remove these barriers without much difficulty or expenses to make the Business
16    accessible to the physically disabled in compliance with ADDAG and Title 24
17    regulations. Defendants have not removed such barriers and have not modified the
18    Business to conform to accessibility regulations.
19                                    FIRST CAUSE OF ACTION
20        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
21          15.    Plaintiff incorporates by reference each of the allegations in all prior
22    paragraphs in this complaint.
23          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
24    shall be discriminated against on the basis of disability in the full and equal enjoyment of
25    the goods, services, facilities, privileges, advantages, or accommodations of any place of
26    public accommodation by any person who owns, leases, or leases to, or operates a place
27    of public accommodation. See 42 U.S.C. § 12182(a).
28          17.    Discrimination, inter alia, includes:



                                      COMPLAINT FOR DAMAGES - 4
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 1               a.    A failure to make reasonable modification in policies, practices, or
 2                     procedures, when such modifications are necessary to afford such
 3                     goods, services, facilities, privileges, advantages, or accommodations
 4                     to individuals with disabilities, unless the entity can demonstrate that
 5                     making such modifications would fundamentally alter the nature of
 6                     such goods, services, facilities, privileges, advantages, or
 7                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8               b.    A failure to take such steps as may be necessary to ensure that no
 9                     individual with a disability is excluded, denied services, segregated or
10                     otherwise treated differently than other individuals because of the
11                     absence of auxiliary aids and services, unless the entity can
12                     demonstrate that taking such steps would fundamentally alter the
13                     nature of the good, service, facility, privilege, advantage, or
14                     accommodation being offered or would result in an undue burden. 42
15                     U.S.C. § 12182(b)(2)(A)(iii).
16               c.    A failure to remove architectural barriers, and communication barriers
17                     that are structural in nature, in existing facilities, and transportation
18                     barriers in existing vehicles and rail passenger cars used by an
19                     establishment for transporting individuals (not including barriers that
20                     can only be removed through the retrofitting of vehicles or rail
21                     passenger cars by the installation of a hydraulic or other lift), where
22                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23               d.    A failure to make alterations in such a manner that, to the maximum
24                     extent feasible, the altered portions of the facility are readily
25                     accessible to and usable by individuals with disabilities, including
26                     individuals who use wheelchairs or to ensure that, to the maximum
27                     extent feasible, the path of travel to the altered area and the
28                     bathrooms, telephones, and drinking fountains serving the altered



                                 COMPLAINT FOR DAMAGES - 5
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 1                        area, are readily accessible to and usable by individuals with
 2                        disabilities where such alterations to the path or travel or the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area are not disproportionate to the overall alterations in terms of cost
 5                        and scope. 42 U.S.C. § 12183(a)(2).
 6          18.    Where parking spaces are provided, accessible parking spaces shall be
 7    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11    be van parking space. 2010 ADA Standards § 208.2.4.
12          19.    Under the ADA, the method and color of marking are to be addressed by
13    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14    Building Code (“CBC”), the parking space identification signs shall include the
15    International Symbol of Accessibility. Parking identification signs shall be reflectorized
16    with a minimum area of 70 square inches. Additional language or an additional sign
17    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18    parking space identification sign shall be permanently posted immediately adjacent and
19    visible from each parking space, shall be located with its centerline a maximum of 12
20    inches from the centerline of the parking space and may be posted on a wall at the
21    interior end of the parking space. See CBC § 11B-502.6, et seq.
22          20.    Moreover, an additional sign shall be posted either in a conspicuous place at
23    each entrance to an off-street parking facility or immediately adjacent to on-site
24    accessible parking and visible from each parking space. The additional sign shall not be
25    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27    designated accessible spaces not displaying distinguishing placards or special license
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                                    COMPLAINT FOR DAMAGES - 6
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 1    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2    See CBC § 11B-502.8, et seq.
 3          21.    Here, Defendants failed to provide signs stating “Minimum fine $250” or
 4    “Van Accessible.”
 5          22.    For the parking spaces, access aisles shall be marked with a blue painted
 6    borderline around their perimeter. The area within the blue borderlines shall be marked
 7    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 8    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 9    be painted on the surface within each access aisle in white letters a minimum of 12 inches
10    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
11    11B-502.3.3.
12          23.      Here, Defendants failed to properly maintain the access aisles as Defendant
13    failed to paint “NO PARKING” on the parking surface.
14          24.    The surface of each accessible car and van space shall have surface
15    identification complying with either of the following options: The outline of a profile
16    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
17    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
18    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
19    length of the parking space and its lower side or corner aligned with the end of the
20    parking space length or by outlining or painting the parking space in blue and outlining
21    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
22    occupant. See CBC § 11B-502.6.4, et seq.
23          25.    Here, Defendants failed to paint the International Symbol of Accessibility on
24    the surface as required.
25          26.    A public accommodation shall maintain in operable working condition those
26    features of facilities and equipment that are required to be readily accessible to and usable
27    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
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                                    COMPLAINT FOR DAMAGES - 7
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 1    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 2    violation of Plaintiff’s rights under the ADA and its related regulations.
 3          27.    The Business has denied and continues to deny full and equal access to
 4    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 5    discriminated against due to the lack of accessible facilities, and therefore, seeks
 6    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 7    by individuals with disabilities.
 8                                  SECOND CAUSE OF ACTION
 9                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
10          28.    Plaintiff incorporates by reference each of the allegations in all prior
11    paragraphs in this complaint.
12          29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
13    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
14    national origin, disability, medical condition, genetic information, marital status, sexual
15    orientation, citizenship, primary language, or immigration status are entitled to the full
16    and equal accommodations, advantages, facilities, privileges, or services in all business
17    establishments of every kind whatsoever.”
18          30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
19    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
20    for each and every offense for the actual damages, and any amount that may be
21    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
22    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
23    attorney’s fees that may be determined by the court in addition thereto, suffered by any
24    person denied the rights provided in Section 51, 51.5, or 51.6.
25          31.    California Civil Code § 51(f) specifies, “a violation of the right of any
26    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
27    shall also constitute a violation of this section.”
28




                                      COMPLAINT FOR DAMAGES - 8
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 1          32.    The actions and omissions of Defendants alleged herein constitute a denial
 2    of full and equal accommodation, advantages, facilities, privileges, or services by
 3    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5    51 and 52.
 6          33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8    damages as specified in California Civil Code §55.56(a)-(c).
 9                                  THIRD CAUSE OF ACTION
10                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11          34.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14    entitled to full and equal access, as other members of the general public, to
15    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20    places of public accommodations, amusement, or resort, and other places in which the
21    general public is invited, subject only to the conditions and limitations established by
22    law, or state or federal regulation, and applicable alike to all persons.
23          36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24    corporation who denies or interferes with admittance to or enjoyment of public facilities
25    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27    the actual damages, and any amount as may be determined by a jury, or a court sitting
28    without a jury, up to a maximum of three times the amount of actual damages but in no



                                      COMPLAINT FOR DAMAGES - 9
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 1     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2     determined by the court in addition thereto, suffered by any person denied the rights
 3     provided in Section 54, 54.1, and 54.2.
 4            37.   California Civil Code § 54(d) specifies, “a violation of the right of an
 5     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6     constitute a violation of this section, and nothing in this section shall be construed to limit
 7     the access of any person in violation of that act.
 8            38.   The actions and omissions of Defendants alleged herein constitute a denial
 9     of full and equal accommodation, advantages, and facilities by physically disabled
10     persons within the meaning of California Civil Code § 54. Defendants have
11     discriminated against Plaintiff in violation of California Civil Code § 54.
12            39.   The violations of the California Disabled Persons Act caused Plaintiff to
13     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14     statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                  FOURTH CAUSE OF ACTION
16                                  UNFAIR COMPETITION ACT
17            40.   Plaintiff incorporates by reference each of the allegations in all prior
18     paragraphs in this complaint.
19            41.   Defendants have engaged in unfair competition, unfair or fraudulent
20     business practices, and unfair, deceptive, untrue or misleading advertising in violation of
21     the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
22            42.   Defendants engage in business practices and policies that create systemic
23     barriers to full and equal access for people with disability in violation of state and federal
24     law.
25            43.   The actions and omissions of Defendants are unfair and injurious to
26     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
27     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
28     provided with goods and services provided to other consumers. Plaintiff seeks relief



                                     COMPLAINT FOR DAMAGES - 10
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 1     necessary to prevent Defendants’ continued unfair business practices and policies and
 2     restitution of any month that Defendants acquired by means of such unfair competition,
 3     including profits unfairly obtained.
 4                                     FIFTH CAUSE OF ACTION
 5                                            NEGLIGENCE
 6            44.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8            45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10     to the Plaintiff.
11            46.    Defendants breached their duty of care by violating the provisions of ADA,
12     Unruh Civil Rights Act and California Disabled Persons Act.
13            47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14     has suffered damages.
15
16                                       PRAYER FOR RELIEF
17            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
18     Defendants as follows:
19            1.     For preliminary and permanent injunction directing Defendants to comply
20     with the Americans with Disability Act and the Unruh Civil Rights Act;
21            2.     Award of all appropriate damages, including but not limited to statutory
22     damages, general damages and treble damages in amounts, according to proof;
23            3.     Award of all reasonable restitution for Defendants’ unfair competition
24     practices;
25            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
26     action;
27            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
28            6.     Such other and further relief as the Court deems just and proper.



                                     COMPLAINT FOR DAMAGES - 11
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 1                                DEMAND FOR TRIAL BY JURY
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3     demands a trial by jury on all issues so triable.
 4
 5     Dated: December 9, 2019                 SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                             By:   _/s/ Jason Yoon_______________
                                                     Jason Yoon, Esq.
 9                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 12
